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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 1199SEIU UNITED HEALTHCARE
 WORKERS EAST,

            Petitioner,                       Case No.: 20-cv-3611 (JGK)

     -against-


PSC COMMUNITY SERVICES, NEW
PARTNERS, INC. D/B/A
PARTNERS IN CARE, et. al.

            Respondents.




  PROPOSED INTERVENORS’ REPLY MEMORANDUM OF LAW IN SUPPORT OF
          THEIR MOTION TO INTERVENE AND DISMISS OR STAY




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                                PRELIMINARY STATEMENT

       Mei Kum Chu, Sau King Chung, Qun Xiang Ling (“CPC Proposed Intervenors”), Epifania

Hichez, Carmen Carrasco, Seferina Acosta, and Dulce Herrera Palma (“UJC Proposed

Intervenors”) (collectively “Intervenors”) may intervene as of right or permissively to join Ms.

Yan’s motion to dismiss or stay the Union’s Petition. They timely moved to intervene and their

interest in proceeding in court rather than arbitration may be impaired if the Union’s Petition is

confirmed. Finally, they have standing to intervene to protect their interest in proceeding in Court

because the Award purports to eliminate that right.

                                           ARGUMENT

   1. Intervention as of Right is Warranted.

           a. Intervenors Timely Moved to Intervene.

       Intervenors can intervene as of right. Intervenors timely filed their premotion letter with

the Court. Nevertheless, the Agencies claim that Intervenors waited too long because they did not

intervene before the Union filed its Petition. Intervenors could not have delayed by failing to

intervene in a proceeding that did not yet exist and it is for this reason that the cases the Agencies

cite involve interventions into existing cases. Further, to the extent the Agencies are arguing that

Intervenors should have tried to stop the Arbitration as it applied to them, they did. Although the

Union filed its grievance in January 2019, the Arbitration did not begin until January 15, 2020.

Intervenors filed motions for injunctive relief in state court in early January before the proceedings

began. Kirschner Decl. ¶ 9, Hichez v. United Jewish Council of the East Side, No. 653250/2017,

2020 N.Y. Slip Op. 31676(U), 2020 WL 2747784, at *3 (N.Y. Cty. May 27, 2020).

       The Agencies cannot establish prejudice if Intervenors can intervene. Having to litigate

now against additional parties “does not constitute cognizable prejudice.” Techcapital Corp. v.



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Amoco Corp., No. 99 CIV. 5093 (AGS), 2001 WL 267010, at *3 (S.D.N.Y. Mar. 19, 2001)

(permitting nonparties to the arbitration to intervene). Further, permitting intervention would not

“prolong and complicate” this matter. (Agencies Memo at 11). Unlike in Eddystone, where the

intervenors argued that the arbitration award was “the product of collusive litigation,” which would

have required the development of a factual record, Intervenors are only moving to dismiss or stay

this matter and have joined Ms. Yan’s motion that is being briefed concurrently with this motion

and will presumably be decided along with it. Eddystone Rail Co., LLC v. Jamex Transfer Servs.,

LLC, 289 F. Supp. 3d 582, 588 (S.D.N.Y. 2018). There is therefore no prejudice to the Agencies.

Techcapital Corp. v. Amoco Corp., No. 99 CIV. 5093 (AGS), 2001 WL 267010, at *3 (S.D.N.Y.

Mar. 19, 2001) (finding no prejudice because the intervenors “sought to intervene early in the

action, and their cross-petition has been briefed on substantially the same schedule as the petition

and cross-petition in the main action.)

            b. Intervenors Have an Interest That May be Impaired By This Action.

        Contrary to the Agencies’ arguments, Intervenors possess a concrete interest in this matter,

namely proceeding in state court based on their NYLL claims. As noted in Intervenors’ opening

memorandum of law, Intervenors (aside from Dulce Herrera) have filed lawsuit in state court under

the NYLL for claims existing independently of the MOA. Chu v. Chinese-Am. Planning Council

Home Attendant Program, Inc., 194 F. Supp. 3d 221, 229 (S.D.N.Y. 2016) (finding that NYLL

claims were independent of the CBA). Intervenors have a “right to bring statutory claims in court.”

Abdullayeva v. Attending Homecare Servs. LLC, 928 F.3d 218, 222 (2d Cir. 2019).                   The

Arbitrator’s Award purported to exercise jurisdiction over some Intervenors’ claims and permitted

the Union to litigate those claims in arbitration. Intervenors therefore wish to protect their right to

continue litigating their claims in state court.



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           By contrast, the cases the Agencies cite all involve far more remote interests.                          In

Eddystone Rail Co., LLC v. Jamex Transfer Servs., LLC, 289 F. Supp. 3d 582, 593 (S.D.N.Y.

2018), the proposed intervenor wished to challenge an arbitration award finding that another

company was liable to the plaintiff because it was concerned that a judge in Pennsylvania would

find it to be a successor with that company. The proposed intervenors’ interests were therefore

contingent on the Pennsylvania court’s decision. Here, the Award purports to resolve the exact

issue that Intervenors have already litigated: whether they can proceed in court or must arbitrate

their claims through the Union.1

           Further, Intervenors’ interests may be impaired by confirmation of the Award. Although

the Agencies deny that confirmation here would affect Intervenors’ claims, the Union clearly

believes otherwise and claims that the Agencies do as well. According to the Union, all parties to

the Arbitration, including the Agencies, understood that the whole purpose of the Award is to

prevent employees, such as Intervenors, to file or proceed with their own actions. According to

the Union, it and the Agencies agreed that “the parties needed a final decision from the Arbitrator

on the scope of his jurisdiction and substantive arbitrability. . . . The reason for this was that the

Union and the Employers alike understood that for there to be a resolution of the Union’s claims,

the Employers had to have assurance before a hearing on and a determination on the merits, that


1
    The other cases the Agencies cite also involve similarly remote interests. See, e.g., Patton Boggs LLP v. Chevron

Corp., No. 12-CV-9176 (LAK), 2016 WL 7156593, at *7 (S.D.N.Y. Dec. 7, 2016) (interest was forcing parties to

back out of a settlement that could potentially be used against intervenors in another case); Sec. Inv'r Prot. Corp. v.

Bernard L. Madoff Inv. Sec. LLC, 550 B.R. 241, 250 (Bankr. S.D.N.Y. 2016) (proposed intervenor had no interest in

that lawsuit but merely tried to prevent bad precedent).




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the arbitration would include all of the claims the Union was seeking to arbitrate. Without such

assurance in advance of proceeding to hearing on the merits, Employers would face continued

litigation.” (Docket Entry 112, pp. 7-8).      Therefore, obtaining the Award and moving for

confirmation of that Award is to prevent Intervenors from asserting claims in court. Accordingly,

Intervenors’ interest may be impaired by confirmation of the Award.

   2. Intervenors May Intervene Permissively.

       Alternatively, Intervenors may intervene permissively. As noted above, Intervenors have

an interest in this proceeding “because the Award purports to adjudicate certain rights between

them and” the Agencies. Techcapital, 2001 WL 267010, at *3 (permitting nonparty to an

arbitration to intervene permissively to challenge the arbitration award). Further, there are

common questions of facts and law, namely “claims have issues of law in common with the main

action because the issues are the same,” especially whether the Award should be confirmed. Id.

Finally, there will be no undue delay or prejudice to any party. Ms. Yan’s motion to dismiss the

Petition or stay it, which Intervenors joined, is being briefed concurrently with this motion. And

there is no prejudice for the Union and Agencies to have to oppose dismissal or a stay of the

Petition, which they have already done. Nor will permitting Intervenors to intervene delay the

Arbitration. As the Union put in their opposition, even if the Court declines to confirm the Petition,

“such relief would not prevent the Union from continuing to pursue [Intervenors’] claims, and

those of other employees who terminated employment prior to the 2015 MOA, in the pending

arbitration. The Arbitration is moving forward and will continue to do so. That will be true whether

this Court confirms the Award or dismisses the Petition.”           (Union Memo. Of Law p. 9)

Accordingly, no delay or prejudice will arise if Intervenors are permitted to intervene.




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         The Agencies argue that permissive intervention is not warranted for the same reasons

intervention as of right purportedly is not.      Specifically, citing Eddystone, they argue that

confirmation of an arbitration award is a straightforward proceeding and allowing Intervenors to

intervene would disrupt that process (Agencies Memo. of Law pp.16-7). But allowing Intervenors

to intervene here would not slow down the process since the Union’s motion to confirm,

Intervenors’ motion to intervene, and Ms. Yan’s motion to dismiss or stay are all being briefed

concurrently. There is therefore minimal intrusion in the process. Permissive intervention is

therefore warranted.

   3. Intervenors Have Standing to Intervene and Move to Dismiss or Stay the Petition.

         Intervenors also have standing to move to dismiss or stay the Petition. Nonparties have

standing to challenge an award when it “directly affects their rights.” Ass'n of Contracting

Plumbers v. Local Union No. 2 United Ass'n of Journeymen & Apprentices, 841 F.2d 461, 466

(2d Cir. 1988). They have standing even if they are not “technically bound by the awards” as long

as they have a “sufficient stake in the outcome.” Id.

         As stated above, the Union and the Agencies submitted to the Arbitrator’s jurisdiction for

the purpose of obtaining an Award that purports to prevent Intervenors from proceeding in court.

Even though Intervenors are not bound by the Award, the Award purports to prevent Intervenors

from proceeding in court. Intervenors, therefore, plainly have a sufficient stake in this proceeding,

since the Petition seeks to confirm an Award that attempts to eliminate their right to proceed in

court.

         The Agencies try to narrow Contracting Plumbing to cases only where the proposed

intervenor’s “very existence would have been jeopardized.” But that is too narrow a reading.

Nonparties have standing to challenge awards as long as they have a “sufficient stake in the



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outcome.” Id. Intervenors have such a stake here. Accordingly, they may intervene despite being

nonparties to the Award.

           Each Intervenor also has standing.2 The CPC Intervenors brought a case almost five years

ago against CPC. While the state court stayed that action, then dismissed it without prejudice and

refused to reinstate it, CPC Intervenors are appealing the dismissal and failure to reinstate.

Kirschner Decl. ¶ 9. CPC Intervenors therefore plainly have an interest in the outcome of this

matter even though their case was dismissed.

           Although the Union claims that CPC Intervenors have been compelled to arbitrate their

claims (Union Memo of Law p. 10), that is not true. CPC never moved to compel CPC Intervenors

to arbitrate, and no court has required them to do so. In claiming that CPC Intervenors must

arbitrate their claims, the Union relies on Chan v. Chinese-Am. Planning Council Home Attendant

Program, Inc., 180 F. Supp. 3d 236, 241 (S.D.N.Y. 2016) where then-Judge Forrest held that other

employees of CPC who worked after the MOA came into effect were bound by the MOA and had

to arbitrate their claims. But Judge Forrest specifically held that CPC Intervenors are not required



2
    Notably, Intervenors do not need standing to intervene permissively under Rule 24(b). Courts in this Circuit have

long not required standing to permissively intervene. U. S. Postal Serv. v. Brennan, 579 F.2d 188, 190 (2d Cir. 1978)

(standing not required to intervene under Rules 24(a) or Rule 24(b)); Citizens Against Casino Gambling in Erie Cty.

v. Hogen, 704 F. Supp. 2d 269, 283 (W.D.N.Y. 2010) (no standing required for permissive intervention), aff'd, 417 F.

App'x 49 (2d Cir. 2011). Although the Supreme Court required standing for intervention as of right in Town of

Chester, N.Y. v. Laroe Estates, Inc., 137 S. Ct. 1645, 1651 (2017) that decision did not address permissive intervention.

Vazzo v. City of Tampa, No. 8:17-CV-2896-T-36AAS, 2018 WL 1629216, at *3 (M.D. Fla. Mar. 15, 2018) (noting

that standing is not required for permissive intervention even after Town of Chester) report and recommendation

adopted sub nom. Vazzo v. City of Tampa, Fla., No. 8:17-CV-2896-T-36AAS, 2018 WL 1620901 (M.D. Fla. Apr. 4,

2018).


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to arbitrate their claims because they worked before the MOA came into effect. See Chu, 194 F.

Supp. 3d at 228 (holding that CPC Intervenors are not bound by the MOA and do not have to

arbitrate their claims). In other words, the same judge on whose decision the Union is relying

expressly held that her decision did not apply to the CPC Intervenors. Because no court has

compelled CPC Intervenors to arbitrate their claims, they are not required to do so.

           The UJC Intervenors have standing as well. UJC Intervenors (except Herrera Palma)

brought their state court actions as potential class representatives on behalf of potentially thousands

of class members. New York courts agree that even in the pre-class certification context, putative

class representatives without an individual interest in the case can protect absent class members

from suffering prejudice. Desrosiers v. Perry Ellis Menswear, LLC, 30 N.Y.3d 488, 499 (2017)

(finding that a potential class representative who had settled his claim could still move to demand

notice to the class of the settlement). Article 9 of the CPLR provides state courts with “broad

powers to control the course of class action litigation.” In re Colt Indus. S’holder Litig., 155

A.D.2d 154, 159-160 (1st Dep’t 1990) (citing City of Rochester v. Chiarella, 86 A.D.2d 110, 116

(4th Dep’t 1982), aff’d 58 N.Y.2d 316 (1983). Specifically, CPLR § 907 affords New York State

courts broad authority to enter orders governing the conduct of counsel and parties as to the class

even before a class is certified. See Carnegie v. H&R Block, Inc., 180 Misc. 2d 67, 71-72 (Sup.

Ct. N.Y. Cnty. 1999); Alfaro v. Vardaris Tech, Inc., 2009 WL 889951, *12-14 (N.Y. Sup. Ct. Mar.

11, 2009). As a result, Intervenors may intervene to protect the rights of the potential class

members.3



3
    Hichez, 2020 WL 2747784, at *3 does not prevent the UJC Intervenors from acting on behalf of the class. Although

the state court declined to extend to the class its injunction preventing the Arbitrator from exercising jurisdiction over

the UJC Intervenors, it did so because its earlier decision denying the motion to compel arbitration only applied to the


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           Finally, upon reviewing the records submitted by UJC and the Union, Ms. Palma Herrara

remembers working extremely limited hours after December 1, 2015. Intervenors therefore

acknowledge that she does not have standing to challenge the Award. Nevertheless, Intervenors

request permission to substitute another proposed intervenor who would have standing. As the

Court is aware, the original proposed intervenor Ramona de la Cruz intended to join this motion,

but became ill shortly before Intervenors filed the motion, requiring Intervenors to quickly find a

replacement within only a few days and Ms. Herrera Palma was the only potential intervenor that

Intervenors could find in such a short time. Unfortunately, Ms. de la Cruz succumbed to her illness

and is no longer a possible Intervenor. We therefore ask for permission to expeditiously substitute

another potential intervenor once he or she is located.4




UJC Intervenors and not the class. CPC Intervenors can still act in their representative capacities in other contexts,

such as here where they are trying to prevent class members from having to arbitrate claims not required by the MOA.

Similarly, Astil v. Kumquat Properties, LLC, 125 A.D.3d 522, 523, 4 N.Y.S.3d 179 (1st Dept. 2015) merely stands for

the proposition that decisions by potential class representatives in their individual capacity do not bind the class. In

Astil, the Appellate Division found that the voluntary dismissal of his claim by a proposed class representative did not

prevent the individual class members from bringing their own action.
4
    Ms. Yan also appears to have standing for the same reason. She appears to have worked for one of the Respondents

in this matter prior to the MOA that Respondent signed with the Union.


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                                          CONCLUSION

       While Proposed Intervenors do not believe intervention is required because non-parties can

raise the issues set forth in the Yan Motion to Dismiss, in the event intervention is required to raise

these arguments, intervention either by right or permission is proper and should be granted.

Dated: New York, New York
       July 20, 2020

                                                       Respectfully submitted,

                                                       /s/ Michael Taubenfeld
                                                       Michael Taubenfeld
                                                       S. Tito Sinha
                                                       Counsel for Proposed Intervenors




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                                    CERTIFICATION

I, Michael Taubenfeld, certify that this Reply Memorandum of Law contains 2624 words and
that it complies with Hon. John G. Koeltl’s Individual Practices § II(D).


                                                              /s/
                                                        Michael Taubenfeld




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